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City of Boise




                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF IDAHO


In Re:                                       Case No. 21-00630-NGH

KATIE MARIE HOSKINS,                         Chapter 7

                           Debtor.


            NOTICE OF APPEARANCE AND REQUEST FOR NOTICE




         COMES NOW Mark D. Perison of the firm Mark D. Perison, P.A., and hereby

gives notice of the entry of his appearance as attorney of record for and on behalf of

the City of Boise, a party in interest in the above-referenced bankruptcy proceeding,

for all purposes and any further proceeding herein.




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       REQUEST IS HEREBY MADE that copies of any and all notices, pleadings,

papers, or other documents affecting said proceedings in any manner whatsoever, be

served upon said counsel.


                                                   MARK D. PERISON, P.A.


DATED: October 18, 2021.                    By:         /s/ Mark D. Perison
                                                   Mark D. Perison – of the Firm
                                                   Attorney for Secured Creditor


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 18, 2021, I filed the foregoing
electronically through the CM/ECF system, which caused the following to be served
by electronic means, as more fully reflected on the Notice of Electronic Filing:

Holly Roark                   Patrick Geile               U.S. Trustee
Debtor’s Attorney             Bankruptcy Trustee          U.S. Trustee

       AND I FURTHER CERTIFY that on such date I served the foregoing on the
following non-CM/ECF Registered Participants by U.S. Mail, Postage Prepaid:

PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541




                                                      /s/ Mark D. Perison
                                                        Mark D. Perison




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